                                                              U.S. Department of Justice
[Type text]
                                                              United States Attorney
v                                                             Southern District of New York
                                                              The Silvio J. Mollo Building
                                                              One Saint Andrew’s Plaza
                                                              New York, New York 10007


                                                              June 14, 2019


BY ECF

The Honorable Vernon S. Broderick
Thurgood Marshall
United States Courthouse
40 Foley Square
New York, NY 10007


        Re:      United States v. Christopher Collins, et al., 18 Cr. 567 (VSB)

Dear Judge Broderick:

       The Government writes to provide responses to the inquiries posed in the Court’s June 11,
2019 order (ECF No. 103) and to update the Court on certain issues that were left open at the May
3 and May 10, 2019 conferences.

        Regarding the Court’s June 11 order:

    1) Witnesses who were interviewed by both the SEC and the USAO were informed that the
       two agencies were conducting parallel but separate investigations.

    2) Almost all of the interviews involving both the SEC and the USAO were arranged by the
       USAO. The Government can recall only three interviews that were arranged by the SEC
       staff. All three were short interviews with securities brokers that were conducted
       telephonically, with the SEC and the USAO calling in from their respective offices.1

    3) Almost all of the interviews involving both the SEC and the USAO were conducted in
       person at the USAO. In some instances, the SEC investigator was not physically present
       but participated by telephone. A small number of interviews were conduted entirely by
       telephone, with each agency and the witness calling in from different locations. One
       interview was conducted in person at the offices of the witness’s lawyer. The USAO did
       not participate in any interviews at the offices of the SEC staff.



1
  Two of these interviews were inadvertently omitted from the statistics regarding interviews that were submitted to
the Court on May 9, 2019. Accounting for these interviews, the Government conducted 60 interviews with 37 distinct
witnesses, of which the SEC participated in a subset of 16 inteviews with 16 distinct witnesses.
June 14, 2019
Page 2

  4) Certain interviews involving both the SEC and the USAO were conducted pursuant to
     proffer agreements. In those instances, the witness executed separate proffer agreements
     with the USAO and the SEC, respectively.

  5) No employees of the USAO or the FBI have reviewed the SEC’s action memo. The SEC
     did share with the USAO a draft of the portion of the SEC’s complaint that set out the
     SEC’s factual allegations.

  6) The Govermment has responded to the Court’s inquiries regarding grand jury material in a
     separate, ex parte submission.

     Issues left open during the May 3 and May 10 conferences:

  1) Regarding the defendants’ pending motion to compel the Government to re-review non-
     responsive data for Brady / Giglio material, the Government has now obtained consent
     from the individuals identified in the Indictment as CC-1 and CC-2 to provide the
     complete contents of their electronic devices and accounts to the defendants. The
     Government will not re-review these materials itself absent specific authorization from
     their owners or judicial authorization. The Government expects that, consistent with their
     obligations under Rule 16, the defendants will produce to the Government any of the
     non-responsive data they intend to use at trial.

     The defendants’ motion also concerns materials belonging to CC-3, CC-5, and CC-6. As
     the Government previously indicated, it is not in possession of materials belonging to
     CC-3 or CC-6 beyond those that have already been provided in discovery. While the
     Government is in possession of non-responsive iCloud data for CC-5, CC-5 has declined,
     through counsel, to consent to further review of this data by either the Government or the
     defendants.

  2) The Court inquired at the May 10 conference regarding the number of congressional
     staffers who provided documents to the Government. (Tr. 27-28). The Government
     obtained records from three former staffers of Congressman Collins. All of the
     documents obtained from these three indviduals have been produced in discovery. Only
     documents from one of these indivduals contained communications that could be
     construed as work-related. In the Govenrment’s view, none of the materials that were
     produced implicate the Speech or Debate Clause. The document referenced by defense
     counsel at the May 10 argument is clearly a set of talking points to be used in press




                                              2
 June 14, 2019
 Page 3

       relations. See Hutchinson v. Proxmire, 443 U.S. 111, 133 (1979) (communiations with
       the press and the public do not implicate the Speech or Debate Clause).




                                          Respectfully submitted,

                                          GEOFFREY S. BERMAN
                                          United States Attorney

                                   By:        /s/__________________________________
                                          Scott Hartman/Max Nicholas/Damian Williams
                                          Assistant United States Attorneys
                                          (212) 637-2357/1565/2298


cc: All defense counsel (by ECF)




                                             3
